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                 Exhibit B
               Case 8:25-cv-00951-PX             Document 108-4             Filed 05/06/25     Page 2 of 2

Mishkin, Maxwell S.

From:                              Paula Leeper <Paula_Leeper@mdd.uscourts.gov>
Sent:                              Thursday, May 1, 2025 7:10 AM
To:                                Mishkin, Maxwell S.
Subject:                           in re: Transcript Request Submission



⚠ EXTERNAL
Good morning, Mr. Mishkin.

There is not a public record to provide.

Paula Leeper, RPR, CRR
Oﬃcial Federal Court Reporter
6500 Cherrywood Lane
Suite 200
Greenbelt, MD 20770
(301)344-3229


                From: District of Maryland via District of Maryland <DO_NOT_REPLY@mdd.uscourts.gov>
                Sent: Wednesday, April 30, 2025 3:56 PM
                To: MDD_CR_Admin <MDD_CR_Admin@mdd.uscourts.gov>
                Subject: Form submission from: Transcript Request

                Submitted on Wednesday, April 30, 2025 - 15:55


                Submitted values are:
                Court Reporter Other or Not Listed
                Proceeding Date(s) and Other Information April 30, 2025
                Case Caption Abrego Garcia et al v. Noem et al
                Case Number 8:25-cv-00951-PX
                Proceeding Heard by Judge Judge Paula Xinis
                Indicate the Status of the Ordering Party Other
                Name of Ordering Attorney Maxwell S. Mishkin
                Phone Number 202-508-1140
                Extension
                E-mail Address mishkinm@ballardspahr.com
                Preferred Delivery Schedule 3-Day Transcript (see notice)
                Additional Instructions
                Please see ECF No. 106 for reference to hearing held on the record on April 30, 2025.




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